                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                        Plaintiff,

                   v.

 CHRISTOPHER PANAGIOTOU-                   Case No. 3:21-cr-00068-SLG-MMS
 SCIGLIANO,

                        Defendant.


       ORDER RE FINAL REPORT AND RECOMMENDATION OF THE
           MAGISTRATE JUDGE UPON A PLEA OF GUILTY

      A plea agreement was filed in this case at Docket 57. Pursuant to Rule 11

of the Federal Rules of Criminal Procedure, this matter was referred to the

Honorable Magistrate Judge Matthew M. Scoble by the District Court, with the

written and oral consents of Defendant, counsel for Defendant, and counsel for the

United States. A proposed change of plea hearing was held before the magistrate

judge at which Defendant entered a guilty plea to Count 1 of the Indictment, Sexual

Exploitation of Children – Production of Child Pornography, which is a violation of

18 U.S.C. § 2251(a). Defendant also admitted to the Criminal Forfeiture Allegation.

      Judge Scoble issued a Final Report and Recommendation at Docket 72, in

which he recommended that the District Court accept Defendant’s plea of guilty to

Count 1 of the Indictment and accept Defendant’s admission to the Criminal

Forfeiture Allegation. No objections to the Final Report and Recommendation



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have been filed.

      The matter is now before this Court pursuant to 28 U.S.C. § 636(b)(1). The

Court has reviewed the Final Report and Recommendation and adopts it.

Accordingly, IT IS ORDERED that the Court ACCEPTS Defendant’s plea of guilty

to Count 1 of the Indictment and Defendant is adjudged GUILTY of Count 1. The

Court also ACCEPTS Defendant’s admission to the Criminal Forfeiture Allegation.

An Imposition of Sentence hearing has been scheduled for February 2, 2023, at

10:30 a.m. before District Judge Sharon L. Gleason in Anchorage Courtroom 2.

      DATED this 17th day of November, 2022, at Anchorage, Alaska.

                                                /s/ Sharon L. Gleason
                                                UNITED STATES DISTRICT JUDGE




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